The information in this case charged the defendant, Floyd Routh, with having on the 16th day of September, 1939, in Pontotoc county, possession of 30 pints of whisky, with the unlawful intent to sell the same. Upon his trial the jury found him guilty as charged in the information, and assessed his punishment at confinement for 30 days in the county jail and a fine of $50. Motion for a new trial was duly filed and overruled and on December 3, 1940, the court sentenced the defendant in accordance with the verdict of the jury.
On March 22, 1941, an appeal from the judgment was taken by filing in this court a petition in error with case-made and proper proof of notices. No briefs have been filed and no appearance for oral argument made.
Where the defendant appeals from a judgment of conviction and no brief in support of the petition in error is submitted, and no appearance for oral argument made, we do not consider it the duty of this court to go into *Page 30 
a careful examination of the evidence to determine whether or not the trial court erred in the admission or rejection of testimony. This court will examine the record for jurisdictional errors. If no fundamental error appears, the judgment will be affirmed.
We have examined the record and find that the information is sufficient to charge the offense of unlawful possession of intoxicating liquor. The evidence is amply sufficient to sustain the judgment and sentence. On the record before us, we have discovered no error which would warrant a reversal of the judgment and it appears that the defendant was accorded a fair and impartial trial. The judgment of the lower court is accordingly in all things affirmed.
BAREFOOT, P. J., and JONES, J., concur.